Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 1 of 30 PageID 3221




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    DONOVAN HARGRETT,

                     Plaintiff,                 CASE NO. 8:15-cv-2456-T-26EAJ

    v.

    AMAZON.com DEDC LLC,

                     Defendant.

    And

    MICHAEL AUSTIN and DEOLINDA S.M.
    BONDE, on behalf of themselves and of all
    others similarly situated,

                     Plaintiffs,
    v.
                                                CASE NO. 8:15-cv-2588-T-26JSS
    Amazon.com DEDC LLC,

                     Defendant.


          DEFENDANT AMAZON.COM DEDC LLC’S MEMORANDUM OF LAW
                  IN OPPOSITION TO PLAINTIFFS’ RENEWED
                     MOTION FOR CLASS CERTIFICATION
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 2 of 30 PageID 3222


                                                TABLE OF CONTENTS

                                                                                                                                  Page


    I.     INTRODUCTION ....................................................................................................... 1
    II.    FACTUAL BACKGROUND ...................................................................................... 4
           A.        Amazon Runs Background Checks On Its Many Employees, As
                     Permitted By The FCRA.................................................................................. 4
           B.        Amazon Uses A Stand-Alone Disclosure Form .............................................. 5
           C.        Applicants Vary As To Whether They Have Criminal Backgrounds.............. 6
           D.        Applicants Vary As To Whether They Read The Disclosure Form ................ 7
           E.        Putative Class Members Understood Amazon Would Run A
                     Background Check, Agreed To It, And Were Not Harmed By The
                     Disclosure Form ............................................................................................... 7
           F.        Remarkably, After Years Of Litigation, Bonde Dismissed Her Claim
                     With Prejudice And The Remaining Plaintiffs Testified That Their
                     FCRA Claims Are Not Based On The Disclosure Form ................................. 8
           G.        Hargrett And Austin Have Different Motivations For Bringing Their
                     Claims, Assert Different Claims, And Seek Different Relief .......................... 9
                     1.         Hargrett ................................................................................................ 9
                     2.         Austin ................................................................................................. 11
           H.        Ignoring Their Own Testimony, Plaintiffs Seek To Certify A
                     Nationwide Class Based On The Disclosure Form........................................ 11
    III.   LEGAL ARGUMENT ............................................................................................... 11
           A.        No Class Can Be Certified Because The Named Plaintiffs Lack
                     Standing ......................................................................................................... 12
           B.        Plaintiffs Are Not Adequate Class Representatives....................................... 14
           C.        Plaintiffs’ Claims Are Not Typical Of The Putative Class ............................ 16
           D.        Plaintiffs Do Not And Cannot Identify Any Common Evidence That
                     Will Resolve All Claims And Individualized Issues Predominate ................ 17
                     1.         Individualized Issues Predominate As To Standing .......................... 17
                     2.         Individualized Issues Predominate As To Which FCRA Form
                                Each Putative Class Member Seeks To Challenge ............................ 20
                     3.         Individualized Issues Predominate As To Willfulness ...................... 21
                     4.         Individualized Issues Predominate As To The Relief Sought ........... 22
                     5.         Individualized Issues Predominate As To Damages .......................... 23
           E.        A Class Action Is Not Superior And Plaintiffs Offer No Trial Plan ............. 24

                                                                   -i-
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 3 of 30 PageID 3223


                                              TABLE OF CONTENTS
                                                   (continued)
                                                                                                                          Page


    IV.   CONCLUSION .......................................................................................................... 25




                                                               -ii-
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 4 of 30 PageID 3224




    I.       INTRODUCTION

             Plaintiffs’ renewed motion for class certification does nothing to remedy the defects

    in their original motion. In fact, discovery taken since that time has continued to confirm that

    the class Plaintiffs seek to certify does not meet the requirements of Rule 23. For this and the

    other reasons more fully set forth below, the Court should deny Plaintiffs’ renewed motion.

             Plaintiffs Donovan Hargrett (“Hargrett”), Michael Austin (“Austin”), and Deolinda

    Bonde (“Bonde”) applied online to work at Amazon’s fulfillment center in Ruskin, Florida

    through its online job recruiting platform, which is called “Salesforce.” To obtain

    employment and start working, they had to affirm that they reviewed and understood the

    information Amazon presented on the screen in front of them. Each Plaintiff was shown a

    single document, conspicuously labeled “Background Check Disclosure” (“Disclosure

    Form”), which explained on a single screen that Amazon would procure a background check

    report on them in connection with their employment application. After clicking “I Accept”

    and “Save and Continue” on the Disclosure Form screen, they viewed and electronically

    signed a separate document, titled “Background Check Authorization” (“Authorization

    Form”), which gave them the option to consent to the background check. Austin and Bonde

    were hired; Hargrett was not, due to his many recent felony convictions.1

             Hargrett, Austin, and Bonde originally brought this action against Amazon, alleging

    that Amazon violated § 1681b(b)(2) of the Fair Credit Reporting Act (“FCRA”) because the


    1
              Plaintiffs’ class certification motion asserts that Exhibit B to their Complaint (Dkt. No. 79-2) is the
    Disclosure Form. But Exhibit B attaches both the Disclosure Form and the Authorization Form. And it does
    not reflect how either Form was presented to Plaintiffs and other applicants because the formatting is incorrect
    and it spans several pages. Discovery has shown that the Disclosure Form appeared on a single screen, apart
    from the Authorization Form. Exhibit D-2 herein is the single-screen Disclosure Form. (Ex. D, at ¶¶ 4-5, 8.)
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 5 of 30 PageID 3225




    form used to disclose that it is running a background check did not consist “solely” of the

    disclosure and that they suffered harm from this form. Based on this theory, Plaintiffs ask

    this Court to certify a class of Amazon applicants who received the Disclosure Form and for

    whom a background check was run by Amazon’s vendor, Accurate Background. But

    Plaintiffs can no longer rely upon their lawyer-crafted allegations to meet their class

    certification burden, and the actual factual record shows that Plaintiffs’ claims are overrun by

    individualized issues and suffer from many adequacy, typicality, and superiority problems.

           Contrary to their allegations, Hargrett and Austin testified that they could not even

    recall whether they saw the Disclosure Form when they applied and, once shown the

    Disclosure Form, they could not identify anything wrong with it; let alone find it confusing.

    They further claimed that they were basing their claims on a completely separate form

    (pulled from the internet by their attorneys) that was not available to Salesforce applicants in

    the purported class, and were doing so based on the exclusive theory that it contains a release

    of liability (which the Disclosure Form does not have). To make matters worse, Bonde

    testified that she had never heard of the FCRA, was not suing based on the Disclosure Form,

    and only wanted to understand why Amazon fired her. Because she had no grounds to

    pursue her meritless FCRA claim, Bonde dismissed that claim with prejudice. Similarly,

    numerous other putative class members have testified that they suffered no harm from the

    Disclosure Form and have no interest in pursuing any claims against Amazon.

           As a result of this controlling testimony and the dismissal of Bonde’s claim with

    prejudice, Plaintiffs cannot satisfy their heavy evidentiary burden at class certification for

    numerous reasons. First, under controlling Eleventh Circuit law, although the Court



                                                    2
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 6 of 30 PageID 3226




    addressed Article III standing (and other issues) at the motion to dismiss stage based upon

    Plaintiffs’ allegations, the Court must now address this issue based upon the record

    evidence. As Amazon’s pending summary judgment motion demonstrates, Plaintiffs lack

    standing because they understood from the Disclosure Form that Amazon would obtain a

    background check report on them, they agreed to it, and they never suffered any harm as a

    result of any language in the Disclosure Form.

            Second, even if Plaintiffs had standing, they are inadequate class representatives and

    their claims are not typical. Plaintiffs seek to represent a putative class of applicants who

    acknowledged yet allegedly challenge the Disclosure Form, but, according to Plaintiffs’ own

    testimony, their claims are based upon an entirely different form (not available to Salesforce

    applicants) and an entirely different theory (inclusion of release language). Plaintiffs also

    want markedly different types of relief based upon their unique motivations for bringing this

    suit. Hargrett even asserts a separate individual claim based on a different FCRA violation.

            Third, Plaintiffs cannot satisfy the commonality and predominance requirements.

    Plaintiffs’ own testimony shows that proving their claims will not prove those of others. For

    each putative class member, it will be necessary to conduct individualized inquiries relating

    to standing, which form is being challenged, when the background check was run, the legal

    landscape at that time, and the relief sought. And, at a minimum, Amazon has the right to

    introduce individualized evidence on each of these points, such as testimony from the many

    putative class members who already have declared that they understood, agreed to, and were

    not harmed by the Disclosure Form. The individualized mini-trials needed to resolve these

    issues defeat certification.



                                                    3
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 7 of 30 PageID 3227




           Tellingly, Plaintiffs fail to offer any common testimony capable of proving all claims

    on a class-wide basis, much less provide any trial plan as to how they could address these

    numerous individualized issues through common evidence at trial. Instead, Plaintiffs

    wrongly and repeatedly argue that a class can be certified because the Court already resolved

    the validity of the Disclosure Form when it ruled on Amazon’s motion to dismiss. It did no

    such thing. The Court was bound by Plaintiffs’ inaccurate allegations at that time and never

    evaluated the singular Disclosure Form that Plaintiffs actually viewed. The Court certainly

    never had the benefit of Plaintiffs’ deposition testimony—which makes clear that Plaintiffs

    do not even seek to challenge the Disclosure Form that forms the basis for their class claims.

           Lastly, a class action is not a superior way of proceeding as a result of the problems

    identified above. Given the availability of attorneys’ fees and punitive damages, each class

    member has an interest in filing and controlling her own action—just like Hargrett has done

    with respect to his separate § 1681b(b)(3) claim, and Bonde has done by dismissing her claim

    with prejudice. Moreover, proceeding as a class action would potentially impose massive

    liability on Amazon that is grossly disproportionate to any harm. If any putative class

    member feels that she has been harmed, she can file suit separately and seek whatever relief

    she wants. There is simply no need for a class action under these circumstances.

    II.    FACTUAL BACKGROUND

           A.      Amazon Runs Background Checks On Its Many Employees, As
                   Permitted By The FCRA.

           Amazon is an online retailer with fulfillment centers located across the United States

    that process and ship orders placed online. (Am. Compl., ECF No. 79, ¶ 1.) Amazon runs

    background checks on its fulfillment center applicants to identify those who are not suitable



                                                  4
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 8 of 30 PageID 3228




    for the position and to ensure workplace safety. (Declaration of L. Ashfield (formerly

    Cavender) (“Ashfield Decl.”), attached as Ex. D, at ¶ 3.)

             The FCRA allows employers to conduct background checks for employment

    purposes. When they do, the FCRA requires a disclosure that “a consumer report may be

    obtained for employment purposes” and an authorization from the consumer before

    procuring that report. 15 U.S.C. § 1681b(b)(2). To help applicants understand that a

    consumer report will be procured as part of the application process, the FCRA requires that

    the disclosure be provided “in a document that consists solely of the disclosure.” Id. The

    FCRA does not define “solely” or explain what language can be included in the disclosure.2

             B.       Amazon Uses A Stand-Alone Disclosure Form.

             Individuals who want to apply for an Amazon fulfillment center position do so online

    through an Amazon-branded Salesforce technology platform (“Salesforce”). (A. Malatesta

    Dep., attached as Ex. B, at 30:22-31:15, 33:19-34:2.) Through Salesforce, applicants must

    complete and submit an electronic employment application and must view and submit

    additional forms. (Id. at 47:11-18; K. Williams Dep., attached as Ex. C, at 55:18-58:6.) One

    of the additional forms is the Disclosure Form. Applicants who applied for fulfillment center

    jobs through Salesforce were presented with the single-page Disclosure Form. (See Ashfield

    Decl., Ex. D, at ¶¶ 4-6; see also Disclosure Form, Ex. D-2.) The Disclosure Form explains,

    among other things, that Amazon “may procure a consumer report in connection . . . with the

    2
              Both the FCRA and Federal Trade Commission (“FTC”) instruct that an employer may include at least
    some information beyond just the disclosure in the disclosure form. The statute, for instance, expressly permits
    authorization language. 15 U.S.C. § 1681b(b)(2)(A)(ii); Staff Opinion Letter to Hawkey, 1997 WL 33791224,
    at *1 n.3 (F.T.C. Dec. 18, 1997). And the FTC permits the inclusion of “some additional information that is not
    confusing. Staff Opinion Letter to Coffey, 1998 WL 34323748, at *2 (F.T.C. Feb. 11, 1998); see FTC,
    Background Checks: What Employers Need to Know, 2-3, attached as Ex. A.




                                                           5
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 9 of 30 PageID 3229




    application for employment.” (Ex. D-2.) Everything in the Disclosure Form relates to the

    background check that will be procured, and it requires applicants to click “I Accept” and

    “Save and Continue” before proceeding to the next screen. (Id.)

           The next screen is another stand-alone document conspicuously titled “Background

    Check Authorization.” (Ex. D, at ¶ 6; Authorization Form, Ex. D-3.) By e-signing the

    Authorization Form, applicants agree that they “read and understand the previous disclosure

    and this authorization form” and that they “consent to the preparation and release of

    consumer and/or investigative consumer reports to the Company.” (Id.) The bottom of the

    Authorization Form—not the Disclosure Form—includes “Additional State Law Notices,”

    which consist of a few paragraphs of information regarding rights under the laws of four

    states. (Id.) Neither form contains any release of liability language. (Id.)

           C.      Applicants Vary As To Whether They Have Criminal Backgrounds.

           Most applicants for employment with Amazon have no criminal history, like Bonde.

    (Bonde Dep., excerpts attached as Exhibit E, at 26:4-8; K. Roberts Dep., Ex. U, at 18:16-23;

    C. Currington Dep., Ex. V, at 15:24-16:9; J. Shuford Dep., Ex. L, at 15:5-9; A. Bastian Dep.,

    Ex. N, at 17:7-11; S. Diaz Dep., Ex. O, at 20:10-11; T. Richards Dep., Ex. R, at 15:19-21; A.

    Grantlin Dep., Ex. T, at 7:16-18.) Thus, their background checks do not reflect any criminal

    history. Others, like Hargrett, have extensive criminal histories for multiple recent felony

    convictions. (Hargrett Dep., excerpts attached as Ex. F, at 25:14-20, 26:2, 28:19-29:8, 29:12-

    14, 33:17-35:24, 37:6-8, 44:7-45:3.) Still others, like Austin, have a criminal record, but,

    because the convictions occurred many years ago, they do not appear on a background check.

    (Austin Dep., excerpts attached as Ex. G, at 19:16-24, 21:1-10, 24:9-20, 150:20-153:15.)




                                                   6
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 10 of 30 PageID 3230




            These differences yield different results. Between March 2015 and October 2016,

     over 90% of those who applied through the Salesforce interface passed the background

     check. (Ex. D, at ¶¶ 9-10.) Bonde and Austin, for example, were hired by Amazon. (Ex. E,

     at 14:8-10; Ex. G, at 49:7-21.) Hargrett, by contrast, was not. (Ex. F, at 122:1-5.)

            D.      Applicants Vary As To Whether They Read The Disclosure Form.

            Amazon applicants differ in what they recall about the Disclosure Form and whether

     they even read it. Hargrett, for instance, does not recall submitting the Disclosure Form.

     (Ex. F, at 233:23-234:1, 236:6-237:1, 239:18-20.) Other applicants never bothered to read

     the Disclosure Form and just clicked through to the next screen and authorized a background

     check. Austin, for instance, has no recollection of whether he saw the Disclosure Form when

     he applied to Amazon (Ex. G, at 109:23-110:12, 111:20-112:8), but his practice when

     applying for a job is to “sign everything” and not “really look at anything.” (Id. at 90:6-24.)

     Likewise, former Plaintiff Bonde testified that she never read the Disclosure Form because

     she does not speak or read English, but her daughter in law translated and then filled out the

     form for her. (Ex. E, at 64:22-65:4, 65:9-15, 72:25-73:6, 92:12-15; 96:15-97:23.)

            By contrast, as reflected in Exhibit W, numerous other putative class members

     testified that they read the Disclosure Form fully and carefully at the time they applied for

     employment with Amazon. (See e.g. Arredondo Decl., at 21:18-23, 41:19-42:5; Bastian

     Decl., 33:10-34:12; Currington Decl., at 35:12-22; Luna Decl., at 8-13).

            E.      Putative Class Members Understood Amazon Would Run A Background
                    Check, Agreed To It, And Were Not Harmed By The Disclosure Form.

            Contrary to the allegations in the Complaint, numerous class members have testified

     that they understood clearly from the Disclosure Form that Amazon would run a background



                                                    7
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 11 of 30 PageID 3231




     check on them, agreed to it, and were not confused by the Disclosure Form. For instance,

     Hargrett testified that he understood each provision in the Disclosure Form, including that

     Amazon would perform a background check. (Id. at 237:21-239:13, 239:15-240:15, 241:4-

     17.) He found nothing confusing about “anything on this form.” (Id. at 240:16, 18-23,

     241:18-20.) Likewise, as reflected in Exhibits J and W, many putative class members have

     submitted declarations and testified that they understood from the Disclosure Form that a

     background check was part of Amazon’s application process and they readily agreed

     Amazon could do so. (See generally Exs. J, W; see also, e.g., Ex. L, Shuford Dep., at 11:22-

     12:7; 38:25-40:3; Ex. O, Diaz Dep., 31:6-15; Ex. P, Rau Dep., at 29:24-30:16).

            In fact, numerous class members have testified that because they understood and

     authorized Amazon to obtain a background check on them, their privacy was not invaded by

     that background check and they were not otherwise harmed by the Disclosure Form (Ex. L,

     Shuford Dep., at 35:14-19; Ex. N, Bastian Dep., at 18:18-19:7; Ex. O, Diaz Dep., at 24:24-

     25:19, 27:14-17, 28:2-4; Ex. R, Richards Dep., at 74:23-75:1; Ex. S, Luna Dep., at 37:18-23;

     Ex. P, Rau Dep., at 26:1-4), even if the Disclosure Form ultimately were found to be illegal.

     (Ex. L, Shuford Dep., at 33:11-21; Ex. N, Bastian Dep., at 34:17-35:13; Ex. O, Diaz Dep., at

     24:20-26:5; Ex. U, Roberts Dep., at 49:2-50:9; Ex. V, Currington Dep., at 46:17-19, 47:4-9,

     53:4-19; Ex. Q, Arredondo Dep., at 57:14-19).

            F.      Remarkably, After Years Of Litigation, Bonde Dismissed Her Claim
                    With Prejudice And The Remaining Plaintiffs Testified That Their
                    FCRA Claims Are Not Based On The Disclosure Form.

            Nearly two years after her lawyers filed a complaint against Amazon, Bonde testified

     that she had never heard of the FCRA and could not identify anything wrong with the




                                                   8
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 12 of 30 PageID 3232




     Disclosure Form. (Ex. E, at 50:2-11, 73:24-74:3, 105:15-25.) She further testified that her

     claim stemmed exclusively from the circumstance surrounding her termination of

     employment in 2016, after she was hired, which had nothing to do with any background

     check. (Id. at 17:2-22, 32:6-11, 36:21-37:2, 105:17-25.) Bonde decided that she no longer

     wanted to be part of this action and dismissed her claims with prejudice. (ECF No. 112.)

             Similarly, Hargrett testified during his deposition that he could not identify anything

     wrong with the Disclosure Form. (Ex. F, at 233:22-234:1, 237:2-15.)3 Nor could Austin.

     (Ex. G, at 116:17-117:1.) Both Plaintiffs also confirmed that their FCRA claims are based on

     an entirely separate document—an Applicant Information Form—because it contains release

     language. (Ex. F, at 101:22-102:7, 206:20-209:15, 242:11-22; Ex. G, at 120:17-121:16,

     128:21-129:10, 174:10-23.)4 The Applicant Information Form is not shown to those who

     apply through the Salesforce interface and is not the form that Amazon provides to satisfy the

     FCRA disclosure requirement. (Ex. D, at ¶ 9.) Unlike the Applicant Information Form, the

     Disclosure Form does not have release language. (Ex. D-2; Ex. F, at 235:21-236:2.)

             G.       Hargrett And Austin Have Different Motivations For Bringing Their
                      Claims, Assert Different Claims, And Seek Different Relief.

                      1.       Hargrett

             Hargrett applied to Amazon’s Ruskin fulfillment center in July 2015. (Am. Compl. ¶

     49.) Prior to that date, he was convicted of multiple felonies, including possession of

     controlled substances with the intent to sell, felon in possession of a firearm, and attempting

     to elude arrest. (Ex. F, at 25:10-29:8, 29:12-31:23, 33:17-34:24, 37:20-41:5, 44:7-45:3,
     3
              The Disclosure Form was part of Exhibit 25 for Hargrett’s deposition and Exhibit 3 for Austin’s.
     4
              The Applicant Information Form was Exhibit 22 for Hargrett’s deposition and Exhibit 4 for Austin’s
     deposition. A copy of the Applicant Information Form is attached hereto as Exhibit K.




                                                           9
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 13 of 30 PageID 3233




     52:21-62:2.) He recalled at least nine crimes he was convicted for between 2008 and 2014

     alone, but could not recall the exact number. (Id.; see also id. at 24:15-20.) For his

     convictions, he served time in jail and on house arrest, probation, and in numerous drug

     treatment centers. (Id. at 29:4-8, 34:25-35:24, 46:1-4.)

            Hargrett knew that Amazon would run a background check on him before he could be

     hired. (Id. at 88:4-13, 95:25-96:3.) He fully “underst[oo]d that employers have a right to see

     an individual’s criminal record before hiring them.” (E-mail from Hargrett to Amazon

     Background Check Support, attached as Ex. H.) As a result, Hargrett disclosed his

     convictions on the employment application. (Ex. F, at 99:11-19, 173:4-17; see also Hargrett

     E-mail, Ex. H.) His application was denied “in part because of the recency, severity, and

     nature of [his] convictions.” (E-mail From Background Check Support To Hargrett, attached

     as Ex. I.) His background check was entirely accurate and correct. (Ex. F, at 47:19-50:14.)

            Hargrett filed this lawsuit to understand why his felony convictions made him

     ineligible for hire, and believes that Amazon should have discussed the results of his

     background check with him. (Id. at 130:1-17, 148:5-14, 152:12-23.) He testified that his §

     1681b(b)(2) claim is based on the Applicant Information Form (not the Disclosure Form) and

     seeks to represent a class of people who signed that other form. (Id. at 208:3-209:12, 242:11-

     22.) Hargrett wants monetary damages for this claim. (Ex. F. at 250:20-251:2)

            In sharp contrast to Austin, Hargrett also asserts an individual claim for a violation of

     § 1681b(b)(3)(A) of the FCRA. (Am. Compl. ¶¶ 87-103.) He contends that he was not given

     a copy of his background check report and summary of FCRA rights before his application

     was denied. (Id. ¶¶ 88, 91-92.) For this claim, he seeks statutory damages. (Id. ¶ 101.)



                                                    10
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 14 of 30 PageID 3234




                    2.      Austin

            Plaintiff Michael Austin applied online to the Ruskin fulfillment center in June 2015.

     (Ex. G, at 52:19-25.) Although Austin was arrested years ago for multiple felonies, no

     criminal records were found. (Id. at 19:16-24, 20:20-21:10, 149:3-153:15.) He was hired by

     Amazon and worked for about a year before taking medical leave. (Id. at 49:7-21.)

            Unlike Hargrett, Austin brings only a § 1681b(b)(2) claim. Austin testified that his

     sole claim is based only on the inclusion of waiver language in the Applicant Information

     Form—not the Disclosure Form. (Id. at 128:21-129:10.) Austin wants only injunctive

     relief—not monetary damages. (Ex. G, at 143:25-144:7.) He seeks to represent a class of

     individuals who saw that allegedly improper waiver. (Id. at 155:19-156:9.) With respect to

     this case, Austin admittedly has “left everything up to” his attorneys. (Id. at 167:13-168:13.)

            H.      Ignoring Their Own Testimony, Plaintiffs Seek To Certify A Nationwide
                    Class Based On The Disclosure Form.

            The Complaint identifies multiple different forms and improperly merges the

     Disclosure Form and the Authorization Form. Nonetheless, in their motion, Plaintiffs seek to

     assert their § 1681b(b)(2)(A) claims on behalf of a putative nationwide class of applicants

     who applied online through Salesforce with Amazon, had a background check run, and

     viewed the Disclosure Form. (Pls. Mot., at 4-5.) Plaintiffs’ motion should be denied.

     III.   LEGAL ARGUMENT

            It is well settled that “[t]he class action is an exception to the usual rule that litigation

     is conducted by and on behalf of the individual named parties only.” Wal-Mart Stores, Inc.

     v. Dukes, 131 S. Ct. 2541, 2550 (2011) (citation omitted). Class certification is inappropriate

     for “most claims.” Am. Express Co. v. Italian Colors Rest., 133 S. Ct. 2304, 2310 (2013).



                                                     11
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 15 of 30 PageID 3235




     To certify a class, Plaintiffs must present evidence to satisfy each requirement of Rule 23(a),

     and, because Plaintiffs seek monetary relief, they also must demonstrate under Rule 23(b)(3)

     that common questions of law and fact predominate over individual questions, a class trial is

     manageable, and it is a superior way of resolving the controversy. Fed. R. Civ. P. 23(b)(3).

            Plaintiffs cannot merely allege the class certification requirements. Dukes, 131 S. Ct.

     at 2551. Rather, they must present evidence to meet their burden, and the Court must

     conduct a “rigorous analysis” to ensure that they have standing to bring their claims and that

     they have met the requirements of Rule 23(a) and Rule 23(b)(3). Comcast Corp. v. Behrend,

     569 U.S. 27, 33 (2013); Griffin v. Dugger, 823 F.2d 1476, 1482 (11th Cir. 1987). Plaintiffs’

     motion fails nearly all of the required elements.

             A.      No Class Can Be Certified Because The Named Plaintiffs Lack Standing.

            Although the Eleventh Circuit has “emphasize[d] that any analysis of class

     certification must begin with the issue of standing,” Griffin, 823 F.2d at 1482, Plaintiffs’

     motion barely addresses whether they have standing to bring their claims. Instead, Plaintiffs

     largely assume they do because the Court denied Amazon’s motion to dismiss. (ECF No. 96,

     at 9-14.) Plaintiffs’ reliance is misplaced, because the Court based its decision on mere

     allegations; it did not conduct the “fact-intensive Article III standing inquiry” required at the

     “class certification stage.” Porter v. Chrysler Grp. LLC, No. 6:13-CV-555, 2013 WL

     6839872, at *2 (M.D. Fla. Dec. 27, 2013). To meet their evidentiary burden here, Plaintiffs

     must prove that they suffered an “injury in fact” and “a causal connection between the injury

     and the conduct complained of.” Foster v. Green Tree Servicing, LLC, No. 8:15-CV-1878,




                                                    12
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 16 of 30 PageID 3236




     2017 WL 5508371, at *3 (M.D. Fla. Nov. 15, 2017); see Lujan v. Defs. of Wildlife, 504 U.S.

     555, 560 (1992). Plaintiffs have not done so.

              Plaintiffs allege that Amazon’s use of the Disclosure Form confused them, denied

     them information, and invaded their privacy. (Am. Compl., ¶¶ 21, 24, 25.) But as discussed

     at length in Amazon’s Motion for Summary Judgment, discovery has demonstrated that

     Plaintiffs experienced none of these purported injuries. (Amazon MSJ, ECF No. 141, at 20-

     24). While Plaintiffs now attempt to mischaracterize their own testimony and repeatedly

     (and incorrectly) argue that they have standing simply “because [Amazon’s] disclosure was

     not standalone” (Pls.’ Mot. at 18-20), their own testimony makes clear that they did not

     suffer any concrete harm as a result of any language in that Disclosure Form. Both

     unequivocally acknowledged that they understood Amazon would run a background check

     on them at the time they applied; they received all the information required by §

     1681b(b)(2); and they agreed to a background check because they wanted a job with

     Amazon. (Amazon MSJ, at 20-24; Ex. F, at 88:4-20, 95:25-96:3, 237:21-241:21; Ex. G, at

     60:14-61:25, 62:6-24, 73:17-74:3.) Thus, Plaintiffs lack standing. See Stacy v. Dollar Tree

     Stores, Inc., No. 16-61032-CIV, 2017 WL 3531513, at *6 (S.D. Fla. Aug. 14, 2017)

     (applicant lacked standing to bring § 1681b(b)(2)(A) claim because, even if disclosure form

     was non-compliant, he understood background check would be run and agreed to it).5


     5
               Plaintiffs cite Pedro v. Equifax, Inc., 868 F.3d 1275, (11th Cir. 2017), for the proposition that the
     “Eleventh Circuit has . . . confirm[ed] that standing attaches to violations of the FCRA which invade a legally
     protected interest.” Pls.’ Mot. at 18. But the Eleventh Circuit’s analysis in Pedro refutes Plaintiffs’ position. In
     Pedro, the plaintiff claimed that the defendants violated the FCRA when they inaccurately reported her credit,
     which, she alleged, caused her credit score to drop and caused her to lose “time . . . attempting to resolve the
     credit inaccuracies.” Pedro, 868 F.3d at 1280. The court found such real-world injuries sufficiently “concrete
     and particular” to avoid dismissal at the pleadings stage. Id. Here, by contrast, Plaintiffs can no longer rely




                                                             13
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 17 of 30 PageID 3237




              B.       Plaintiffs Are Not Adequate Class Representatives.

              Rule 23(a)(4) requires Plaintiffs to prove that they will adequately protect the

     interests of class members. Although Plaintiffs seek to do away with this requirement by

     arguing that they do not need to have knowledge of the facts or legal theories underlying this

     litigation (Pls.’ Mot., at 13), the Eleventh Circuit has made clear that they must at a minimum

     demonstrate “[s]ufficient participation in and awareness of the litigation.” Kirkpatrick v. J.C.

     Bradford & Co., 827 F.2d 718, 727 (11th Cir. 1987). Plaintiffs fail this test.

              First, they are not sufficiently “familiar with the facts of [this] case.” Butterworth v.

     Quick & Reilly, Inc., 171 F.R.D. 319, 322–23 (M.D. Fla. 1997); Dalton v. FMA Enterprises,

     Inc., 1996 WL 379105, at *6 (M.D. Fla. July 1, 1996). Plaintiffs testified that their claims are

     based on an entirely different form than the Disclosure Form and that the basis for their

     FCRA claim is the inclusion of release language—which they admit does not appear in the

     Disclosure Form at issue in this case. (Ex. F, at 101:22-102:7, 208:3-209:12, 213:19-214:13,

     242:11-22; Ex. G, at 128:21-129:10.) In fact, they do not recall seeing the Disclosure Form,

     and, when they reviewed the Disclosure Form, they could not identify anything wrong with

     it. See, e.g., Hillis v. Equifax Consumer Servs., Inc., 237 F.R.D. 491, 502 (N.D. Ga. 2006)

     (finding plaintiff inadequate even though he was “sufficiently familiar with the general

     nature of th[e] lawsuit” because deposition testimony revealed “he [was] unfamiliar with

     many of the specific allegations that form[ed] the basis for the claims”).




     upon their allegations, and their testimony shows that they have not suffered any concrete harm, such as a credit
     score decrease, as a result of the alleged FCRA violation.




                                                            14
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 18 of 30 PageID 3238




            Clearly, Plaintiffs are not adequate to represent a class that challenges a Disclosure

     Form that Plaintiffs do not recall seeing, do not want to challenge, and cannot identify

     anything wrong with. Plaintiffs would never be able to give affirmative testimony in support

     of any § 1681b(b)(2) claim at any class trial. Their testimony cannot prove their own claims,

     much less those of anyone else. See, e.g., Butterworth, 171 F.R.D. at 323 (applying rule);

     Wein v. Master Collectors, Inc., No. 94-2694, 1995 WL 550475, at *3-4 (N.D. Ga. Aug. 16,

     1995) (plaintiff inadequate because testimony “misstated the substance of her claim”).

            Second, Plaintiffs lack basic knowledge about this case. Plaintiffs do not know how

     the class is defined, what motions have been filed, what damages the class seeks, the names

     of any class members, or their specific duties as representatives. (Ex. F, at 168:19-25, 171:5-

     20, 176:4-5, 177:7-18, 182:8-22, 242:11-22, 250:5-251:2, 253:10-12, 253:21-254:6; Ex. G, at

     65:7-10, 167:13-21, 168:3-13, 170:13-20, 173:3-9.) Austin does not even know who has the

     authority to settle the case—he has admittedly “left everything up” to his attorneys. (Id. at

     167:22-23, 25, 170:24-171:1). Thus, Plaintiffs are inadequate class representatives. See

     London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1254 (11th Cir. 2003) (named plaintiff who

     “abdicated to [his] attorneys the conduct of the case” is inadequate (citation omitted)).

            Lastly, as a matter of law, “a class action cannot be certified when its members have

     opposing interests.” Pickett v. Iowa Beef Processors, 209 F.3d 1276, 1280 (11th Cir. 2000).

     Here, Plaintiffs have conceded that their claims are not based on the Disclosure Form that the

     putative class members received. In fact, Plaintiffs themselves seek different forms of relief.

     Austin testified that he is not seeking any money from this lawsuit; rather, he wants the

     removal of the waiver language from the Applicant Information Form that has nothing to do



                                                    15
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 19 of 30 PageID 3239




     with this case. (Ex. G, at 143:25-144:17.) By contrast, Hargrett seeks monetary damages,

     and, because he also has asserted an individual claim under § 1681b(b)(3), he seeks different

     damages than those sought on behalf of the putative class. (Ex. F, at 256:3-257:5.) As a

     result, there is a conflict not only between Plaintiffs’ theory of the case and the claims

     asserted on behalf of other putative class members, but also between Plaintiffs themselves.

            C.      Plaintiffs’ Claims Are Not Typical Of The Putative Class.

            To demonstrate typicality, Plaintiffs must prove that they “possess the same interest

     and suffer the same injury as the class members.” Gen. Tel. Co. of the Sw. v. Falcon, 457

     U.S. 147, 156 (1982). The underlying factual circumstances also must be similar. See, e.g.,

     Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). Plaintiffs

     cannot meet their burden. As stated above, Plaintiffs have sworn that there is nothing wrong

     with the Disclosure Form and that it is not the basis for their claims. Instead, their claims are

     based on release language that is nowhere in the Disclosure Form. This defeats typicality.

            Likewise, Plaintiffs’ motivation and objectives for filing this lawsuit vary

     dramatically and there is no evidence that they are typical of the putative class. Hargrett filed

     the lawsuit to find out why his accurately reported criminal background caused the denial of

     his employment. (Ex. F, at 152:12-22). Austin was hired, but filed the lawsuit so Amazon

     would remove release language from a form that class members would have never seen or

     submitted. (Ex. G, at 49:7-21, 143:25-144:7). By contrast, class members have testified that

     they have no interest in pursuing claims and seeking relief against Amazon—and Bonde

     already has dismissed her claim with prejudice. (Ex. N, Bastian Dep., at 30:4-31:9; Ex. S,

     Luna Dep., at 29:4-31: 17, 34:4-38:8; Ex. M, Clark Dep. at 49:25:50-11).




                                                    16
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 20 of 30 PageID 3240




            D.      Plaintiffs Do Not And Cannot Identify Any Common Evidence That Will
                    Resolve All Claims And Individualized Issues Predominate.

            The Supreme Court has made clear that “‘[w]hat matters to class certification . . . is

     not the raising of common ‘questions’—even in droves—but, rather the capacity of a class[-

     ]wide proceeding to generate common answers apt to drive the resolution of litigation.’”

     Dukes, 564 U.S. at 350 (citation omitted). Plaintiffs must show, through actual evidence, that

     these common answers will resolve their claims in “one broad stroke.” Brown v. Electrolux

     Home Prod., Inc., 817 F.3d 1225, 1238 (11th Cir. 2016) (citation omitted). Plaintiffs also

     must satisfy the “‘demanding’” Rule 23(b)(3) requirement by demonstrating that any such

     “common” issues “predominate” over individualized ones. Vega v. T-Mobile USA, Inc., 564

     F.3d 1256, 1270 (11th Cir. 2009) (citation omitted). In making these determinations, the

     Court must “take into account [all] ʻthe claims, defenses, relevant facts, and applicable

     substantive law . . . .ʼ” Klay v. Humana, 382 F.3d 1241, 1254 (11th Cir. 2004).

            Here, Plaintiffs ignore their evidentiary burden. They simply argue that there whether

     Amazon violated FCRA and whether that violation was “willful” are predominating

     “common” questions that can be “decided” based upon common unidentified “proof.” (Mot.,

     at 14.) As the factual record shows, however, there is no common evidence capable of

     resolving such issues (much less Plaintiffs’ claims) on a class-wide basis and individualized

     issues predominate on key elements of and defenses to Plaintiffs’ claims.

                    1.      Individualized Issues Predominate As To Standing.

            To be able to bring a claim in federal court under § 1681b(b)(2), a party must have

     Article III standing. But as the individualized testimony of numerous absent class members

     confirms, to assess whether each applicant suffered an “informational,” “privacy,” or other



                                                   17
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 21 of 30 PageID 3241




     injury, the Court would need to conduct countless mini-trials based upon highly

     individualized evidence, such as whether each applicant read the Disclosure Form,

     understood it, agreed that Amazon could conduct a background check, or would have signed

     the Disclosure Form regardless of what language it contained.

            This evidence will differ by class member. For instance, numerous putative class

     members have testified that they were not harmed at all from the Disclosure Form. (Ex. J &

     Ex. W). Thus, they have no standing. This analysis would need to be repeated for everyone.

     At a minimum, regardless of what Plaintiffs intend to show with respect to absent class

     members, Amazon would have the due process right to challenge standing as to each putative

     class member at any class trial, thereby requiring the Court “to hear and consider

     individualized evidence.” Guarisma v. Hyatt Equities, LLC, No. 1:17-cv-20931 (Dkt. 50)

     (S.D. Fla. Sept. 28, 2017); see also Dukes, 564 U.S. at 367 (applying rule).

            In an attempt to evade these countless mini-trials, Plaintiffs argue that absent class

     members do not need Article III standing to bring their claims and, thus, the standing

     analysis is somehow “inapplicable” to them. (Pls.’ Mot., at 20-23.) This is wrong as a matter

     of law. The Supreme Court has unambiguously instructed “that Rule 23’s requirements must

     be interpreted in keeping with Article III constraints.” Amchem Prod., Inc. v. Windsor, 521

     U.S. 591, 592 (1997). And the Rules Enabling Act precludes the use of Rule 23 to “abridge,

     enlarge or modify any substantive right.” Dukes, 564 U.S. at 367 (quoting 28 U.S.C. §

     2072(b)); Windsor, 521 U.S. at 613. As a matter of law, absent class members who would

     not be able to bring a FCRA claim separately against Amazon in federal court, due to lack of

     standing, cannot now use Rule 23 to have their claims tried in federal court as part of one



                                                   18
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 22 of 30 PageID 3242




     class trial. Plaintiffs’ contention that the Court need not conduct any Article III analysis—

     and thereby could certify a class of individuals who lack Article III standing—would abridge

     Amazon’s due process rights, enlarge the rights of class members, and improperly expand the

     jurisdiction of this Court. See Fed. R. Civ. P. 82 (“These rules do not extend . . . the

     jurisdiction of the district courts or the venue of actions in those courts”).

              Ignoring the Rules Enabling Act, Rule 82, Supreme Court precedent, and

     constitutional principles, Plaintiffs remarkably contend that this is a “dead argument” by

     grossly misinterpreting a footnote in Spokeo. (Pls.’ Mot., at 21-22.) Through that footnote,

     the Supreme Court merely reiterated the well-settled rule that, in a class action, a named

     plaintiff still must allege that she has been personally injured to have standing, and cannot

     simply rely on injuries that may have been sustained by putative class members.6 Spokeo

     addressed standing at the pleading stage, and certainly did not hold that a court can ignore the

     need for individualized questions of standing for absent class members at class certification.7

              Indeed, while the Eleventh Circuit has not yet decided this issue, numerous other

     Circuits have recognized that the standing of absent class members is relevant at class

     certification and that a class cannot be certified when it contains members lacking Article III


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               See Spokeo, 136 S. Ct. at 1547, n. 6 (“That a suit may be a class action . . . adds nothing to the question
     of standing, for even named plaintiffs who represent a class ‘must allege and show that they personally have
     been injured, not that injury has been suffered by other . . . members of the class to which they belong.’”).
     7
               Plaintiffs devote considerable space in their motion to the Fifth Circuit’s In re Deepwater Horizon
     decision, 739 F.3d 790 (5th Cir. 2014), to suggest that the Court should ignore the fact that their proposed class
     consists of members who lack Article III standing and an individualized analysis is required to determine
     whether each class member suffered a concrete injury. But the Fifth Circuit never reached that conclusion.
     Rather, the Deepwater Horizon court merely “review[ed] the law governing the standard[s] applicable to Article
     III questions in the . . . context of Rule 23,” id. at 802, and recognized that, under the facts of that particular
     case, “the class definition include[d] only persons . . . who c[ould] allege causation and injury in accordance
     with Article III.” Id. (emphasis added). The Deepwater Horizon decision therefore is consistent with the
     general rule that certification is not appropriate if there are predominating individual issues of standing.




                                                             19
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 23 of 30 PageID 3243




     standing. See Halvorson v. Auto-Owners Ins. Co., 718 F.3d 773, 778 (8th Cir. 2013) (“In

     order for a class to be certified, each member must have standing and show an injury in fact

     that is traceable to the defendant and likely to be redressed in a favorable decision.”); Mazza

     v. Am. Honda Motor Co., 666 F.3d 581, 594 (9th Cir. 2012) (denying certification); Denney

     v. Deutsche Bank AG, 443 F.3d 253, 264 (2d Cir. 2006) (recognizing rule). In fact, in a

     recent case involving Plaintiffs’ counsel, a court recently rejected Plaintiffs’ flawed

     interpretation of Spokeo and denied certification of a FCRA claim because, consistent with

     the requirements of Article III, “many individualized questions remain about which class

     members suffered a concrete injury.” Branch v. GEICO, No. 3:16-CV-1010, 2018 WL

     358504, at *10 (E.D. Va. Jan. 10, 2018). The same result should apply here.

                    2.      Individualized Issues Predominate As To Which FCRA Form
                            Each Putative Class Member Seeks To Challenge.

            To bring a claim under § 1681b(b)(2), each class member must show that the

     disclosure was not made “in a document that consists solely of the disclosure.” Id. §

     1681b(b)(2)(A). But as the record confirms, individualized factual questions will necessarily

     arise as to which form each putative class member identifies as the alleged violation and

     seeks to challenge. For instance, both Hargrett and Austin have testified that their FCRA

     claim is based upon the purported inclusion of release language in an Applicant Information

     Form—which Salesforce applicants never even saw. (Ex. F, at 101:22-102:7, 208:10-13,

     242:11-22; Ex. G, at 120:17-121:16, 128:21-129:10, 174:10-23; Ex. D, at ¶ 9.) Other

     putative class members recall seeing the Disclosure Form, but entirely understood it and

     authorized the background check. (Ex. J; see also, e.g., Ex. S, Luna Dep., at 35:11-14 (“[I]n

     this case, this job application, I allowed Amazon to do a background check and . . . when I


                                                    20
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 24 of 30 PageID 3244




     read [the Disclosure Form], I understood that they were going to do a background check.”);

     Ex. M, Clark Dep., 13:21-15:12 (same). Conducting this form-by-form analysis with every

     class member would be entirely unmanageable.

            Plaintiffs attempt to avoid this fundamental problem by repeatedly contending that

     the Court already decided liability in this case. (Pls.’ Mot. at 1, 8, 14.) Not so. The Court’s

     motion to dismiss ruling was not based on a factually developed record, but on Plaintiffs’

     allegations, which improperly merged the Disclosure Form (which Plaintiffs cannot identify

     anything wrong with) and the Authorization Form (which contains state law disclosures).

     The Court never decided whether the Disclosure Form, a stand-alone document viewed on a

     single screen, complies with the FCRA. And the Court did not have the benefit of Plaintiffs’

     testimony, which narrows their challenge to the Applicant Information Form—not the

     Disclosure Form. This fundamental question—what FCRA disclosure form serves as the

     basis for each claim—will vary by class member.

                    3.      Individualized Issues Predominate As To Willfulness.

            Because Plaintiffs appear to seek statutory and punitive damages on behalf of the

     putative class (Am. Compl. ¶ 84), they must show that Amazon “willfully fail[ed] to comply”

     with § 1681b(b)(2)(A). 15 U.S.C. § 1681n(a)(1)(A). To do so, they must demonstrate that

     Amazon’s conduct was intentional or reckless, which the Supreme Court has defined as

     “action entailing ʻan unjustifiably high risk of harm that is either known or so obvious that it

     should be known.ʼ” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 68 (2007) (citation omitted).

     This is a fact-intensive inquiry. (ECF No. 96, at 14-15.)




                                                    21
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 25 of 30 PageID 3245




            Plaintiffs argue that common evidence for the willfulness issue exists because

     Amazon purportedly treated the class uniformly throughout the class period. (Pls.’ Mot. at

     10.) But Plaintiffs ignore their evidentiary burden and identify no such common evidence,

     and for good reason: whether a company acted willfully depends upon what the company

     knew at a particular time, including whether there is case law that the inclusion of whatever

     challenged information in whatever challenged disclosure form violates the FCRA and when

     that case law was decided. This evidence will differ by class member—based upon when

     the class member signed the Disclosure Form and when the background check was run.

            By way of example, the evidence of willfulness applicable to a claim based upon the

     use of the Disclosure Form in March 2015 would differ from the evidence of willfulness that

     Hargrett and Austin may try to present, given that their background check reports were run in

     July 2015. Plaintiffs allege that willfulness can be inferred because Amazon was sued in

     another FCRA class action (under a separate FCRA theory) in Williams v. Amazon.com, Inc.,

     No. 15-cv-00542 (N.D. Ill.) (Am. Compl. ¶ 82), but Williams was not filed until April 7,

     2015; it would have no bearing on the claim of someone who had her background check

     report run before then. Nor do Plaintiffs provide any common evidence capable of proving

     willfulness for all claims of all class members. The willfulness inquiry will necessitate

     individualized evidence and analysis as to when an applicant submitted the Disclosure Form,

     when the background check was run, and the sources of guidance available at that time.

                    4.     Individualized Issues Predominate As To The Relief Sought.

            Individual issues also will predominate as to what relief each class member may seek.

     Austin testified that he expects no compensation, but “just want[s] [Amazon] to stop”




                                                   22
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 26 of 30 PageID 3246




     including release language in its FCRA disclosure form for Salesforce applicants (which it

     does not do; thus, the relief he seeks is nonexistent). (Ex. G., at 45:6-14). By contrast,

     Hargrett contends that he is “entitled to some type of money.” (Ex. F, at 250:20-22.) Bonde,

     meanwhile, has voluntarily acknowledged that she is not entitled to anything, despite her

     inclusion within the class definition, because she dismissed her claims with prejudice.

            Critically, other putative class members have testified that they disagree with the

     decision to sue Amazon and do not want money from Amazon through this lawsuit, in part

     because they were not harmed by the Disclosure Form. (Ex. N, Bastian Dep., at 30:4-31:9;

     Ex. S, Luna Dep., at 29:4-31:17, 34:4-38:8; Ex. M, Clark Dep. at 50:4-11.) Still other

     putative class members may want “actual damages” (rather than statutory damages) based

     upon a negligence theory, thereby avoiding a showing of “willfulness.” 15 U.S.C. §

     1681o(1)(A); see also Mix v. Asurion Ins. Servs. Inc., No. CV-14-02357-PHX-GMS, 2016

     WL 7229140, at *12 (D. Ariz. Dec. 14, 2016) (denying certification of FCRA claim because

     of “potential differentiation” in relief sought and fact that some class member may want

     actual damages). Given that Plaintiffs’ class motion does not expressly limit the FCRA

     claim brought on behalf of the class to a particular type of relief or damages (Pls.’ Mot. at 9-

     10), individualized questions of relief will vary by putative class member.

                    5.      Individualized Issues Predominate As To Damages.

            Even if all putative class members were seeking only statutory damages,

     individualized issues would predominate as to the amount of any award. FCRA provides for

     statutory damages in the amount of $100 and $1000. 15 U.S.C. § 1681n(a)(1)(A). Because

     the FCRA does not provide “further guidance as to how to decide what amount to award a




                                                    23
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 27 of 30 PageID 3247




     plaintiff[,] . . . any individual plaintiff’s actual injury [also] may be relevant to calculating

     their statutory damage amount.” Mix, 2016 WL 7229140, at *13. That is the case here.

             The amount of any statutory damages for each alleged violation does not hinge solely

     upon Amazon’s conduct—but upon the impact, if any, of the disclosure language on the class

     member, including whether he or she has suffered any injury. This, in turn, will vary greatly

     depending on the form on which the class member bases her claim, whether she understood

     it, and her criminal history. Id. (denying certification on FCRA claim in part because “there

     could be wide variation between class members who suffered actual damages—which should

     be reflected in the statutory award they receive—and those who did not”).

             E.      A Class Action Is Not Superior And Plaintiffs Offer No Trial Plan.

             Plaintiffs have not and cannot demonstrate “that a class action is superior to other

     available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.

     23(b)(3). In the Eleventh Circuit, when common issues do not predominate, “class treatment

     would be either singularly inefficient . . . or unjust.” Klay, 382 F.3d at 1269 (citations

     omitted). Notably, Plaintiffs still have not submitted any trial plan to demonstrate how it

     would be feasible to address the many predominating individualized issues identified above

     in one trial, including whether the more than 170,000 putative class members have suffered a

     concrete and particularized injury—and, thus, whether they have standing. Nor do Plaintiffs

     make any effort to show what common evidence they would use at any class trial, given their

     own testimony (after years of litigation) that they are not challenging the Disclosure Form

     Amazon used. This is fatal to their motion. See Vega, 564 F.3d at 1278-79 (certification

     denied when there was no “trial plan that would feasibly address” individualized issues).




                                                      24
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 28 of 30 PageID 3248




            Furthermore, a class action is not “superior” because each class member has an

     incentive to bring and control her own § 1681b(b)(2) claim, as a result of the statutory

     damages available under the FCRA and its provision of attorney’s fees and costs. See 15

     U.S.C. § 1681n(a)(3); see Grimes v. Rave Motion Pictures Birmingham, L.L.C., 264 F.R.D.

     659, 669 (N.D. Ala. 2010) (finding that the availability of attorneys’ fees and statutory

     damages rendered individual suits superior to a class action). This is precisely what Hargrett

     has done with his individual claim under § 1681b(b)(3), and what Bonde recognized when she

     dismissed her claim with prejudice. Each putative class member should be allowed to bring

     and control her own case, if he believes she has somehow been wronged.

            Lastly, certification of Plaintiffs’ proposed class is “particularly undesirable” in this

     case because “the potential damages available . . . are grossly disproportionate to the conduct

     at issue.” Klay, 382 F.3d at 1271. This is especially true for technical violations of a

     “‘complex regulatory scheme, subject to different reasonable interpretations.’” Id. (quoting

     London, 340 F.3d 1246, 1255 n. 5). Here, Plaintiffs have not provided any evidence showing

     that anyone suffered harm as a result of Amazon’s Disclosure Form. Nonetheless, if a class is

     certified, Amazon would face tens, if not hundreds, of millions of dollars in statutory damages

     and attorney’s fees based upon language the named Plaintiffs do not challenge in a Disclosure

     Form that the named Plaintiffs do not ever recall signing. Any such damages amount would

     “raise serious constitutional problems implicating the Defendant’s Due Process rights.” Ehren

     v. Moon, Inc., No. 09-21222-CIV, 2010 WL 5014712, at *2 (S.D. Fla. Dec. 3, 2010).

     IV.    CONCLUSION

            For the foregoing reasons, the Court should deny Plaintiffs’ class certification motion.




                                                    25
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 29 of 30 PageID 3249




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                                        26
Case 8:15-cv-02456-RAL-AAS Document 146 Filed 01/31/18 Page 30 of 30 PageID 3250




                                   CERTIFICATE OF SERVICE

            I hereby certify that on January 31, 2018, I caused a true and correct copy of

     Defendant’s Memorandum Of Law In Opposition To Plaintiffs’ Renewed Motion For Class

     Certification to be served via the Court’s ECF system on all counsel of record.


                                                   /s/ Brian M. Ercole
                                                  Brian M. Ercole




                                                  27
